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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

  EMILIO PINERO,
       Plaintiff,
  vs.
                                                            Case No.: 21-cv-23767-DPG
  CASTELL PROPERTIES, LLC, et al.,
       Defendants.


                          NOTICE OF SETTLEMENT IN PRINCIPLE

       Plaintiff, EMILIO PINERO, by and through undersigned counsel, hereby notifies the Court

  that the Parties have reached a settlement in principle. The Parties are in the process of

  memorializing their agreement and finalizing the parties’ settlement of all issues and/or matters

  brought or that could have been brought in this action.

         Respectfully submitted,

         s/ Glenn R. Goldstein
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